Case 1:21-cr-00083-TNM Document 73-5 Filed 03/07/22 Page 1 of 24




                   Exhibit E
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 Fellows 1-13-22 eDiscovery for Brandon Fellows
 Redacted
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From:           Furst, Mona (USADC)
To:             Furst, Mona (USADC)
Subject:        eDiscovery for Brandon Fellows
Date:           Tuesday, February 15, 2022 1:29:02 PM




From: Fitzgerald, Mark (USADC)
Sent: Thursday, January 13, 2022 9:58 AM
To: Furst, Mona (USADC) <MFurst@usa.doj.gov>; Gorup, Geoffrey
Subject: RE: eDiscovery for Brandon Fellows

Good Morning Mona and Geoff,

The manilla envelope I received via FedEx on Monday, 01/10/2022, for inmate Brandon Fellows was
taken to the DC Jail today. Kimberlee Smith and Ingrid Washington were not available and the
envelope was given to jail investigator Gary Foreman. Investigator Foreman said he would deliver
the envelope to Ms. Smith                   or Ms. Washington

Thanks


Mark Fitzgerald
Special Agent
Department of Justice
U.S. Attorney’s Office - DC
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  Fellows 2-7-22 Mailed Certified Mail Receipt
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            Fellows 2-9-22 DC Jail
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  Case 1:21-cr-00083-TNM Document 73-5 Filed 03/07/22 Page 8 of 24




Fellows 2-16-22 USPS Tracking Prod 5 Delivered
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Case 1:21-cr-00083-TNM Document 73-5 Filed 03/07/22 Page 11 of 24




Fellows 2-22-22 Mailed Certified Mail Receipt
Case 1:21-cr-00083-TNM Document 73-5 Filed 03/07/22 Page 12 of 24
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     Fellows 12-9-21 Thumb Drives DC Jail
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        Fellows 12-16-21 CD DC Jail
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Fellows Delivered 2-28-22 USPS.com® - USPS
Tracking® Results
             Case 1:21-cr-00083-TNM Document 73-5 Filed 03/07/22 Page 18 of 24


USPS Tracking
                                ®                                                      FAQs 




                                    Track Another Package +




                                                                                     Remove 
Tracking Number: 70200090000073055002

Your item was picked up at a postal facility at 10:19 am on February 28, 2022 in WASHINGTON,
DC 20024.

USPS Tracking Plus® Available 




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 Delivered, Individual Picked Up at Postal Facility
February 28, 2022 at 10:19 am
WASHINGTON, DC 20024


Get Updates 



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Case 1:21-cr-00083-TNM Document 73-5 Filed 03/07/22 Page 19 of 24
        Can’t find what you’re looking for?
   Go to our FAQs section to find answers to your tracking questions.


                                 FAQs




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US v. Brandon Fellows pro se Discovery Production 5 -
Global Discovery 11 Redacted
      Case 1:21-cr-00083-TNM Document 73-5 Filed 03/07/22 Page 21 of 24


From:           Furst, Mona (USADC)
To:             Joseph R. Conte
Cc:             Geoffrey Gorup
Subject:        US v. Brandon Fellows pro se Discovery Production 5 - Global Discovery 11
Date:           Saturday, February 5, 2022 12:52:00 PM
Attachments:    Pro Se Discovery 5 2.7.22 mlf.pdf



Mr. Conte,
      I am sending Mr. Fellows the global discovery letter 11 and the index, along with the
attached letter, which has guidance similar to what I sent you with the same items.
Let me know if you have any questions.

Regards,

Mona Lee M. Furst
Assistant United States Attorney
Senior Litigation Counsel
District of Kansas
Detailed to the District of Columbia
Case 1:21-cr-00083-TNM Document 73-5 Filed 03/07/22 Page 22 of 24




US v. Fellows Pro Se Discovery Provided in USAfx
2-16-22
      Case 1:21-cr-00083-TNM Document 73-5 Filed 03/07/22 Page 23 of 24


From:             Furst, Mona (USADC)
To:               Joseph R. Conte (dcgunlaw@gmail.com)
Cc:               Geoffrey Gorup (USAMOW) (GGorup@usa.doj.gov)
Subject:          US v. Fellows Pro Se discovery provided in USAfx
Date:             Wednesday, February 16, 2022 3:26:00 PM
Attachments:      image001.png



Mr. Conte –
       The CCTV and some other items from the various 5 pro se discovery sent to Mr. Fellows
has been put into a folder for you to review. Not everything sent to Mr. Fellows or his prior
counsel are included.
Nor is Global discovery which you have access to through Relativity. Most of the Global
discovery materal was sent to Mr. Fellows via the jail, except for Sensitive and Highly Sensitive
materials.

      I also added two videos from other defendants that show Mr. Fellows in Senator
Merkley’s office, smoking marijuana. Below is a link to YouTube where a walk through was
filmed of the office after Jan. 6th.
       I also provided news interviews on CNN and WNYT of your interview. These were
provided previously but for your ease of access I have included them in the folder.

https://www.facebook.com/watch/?v=222464836136603

This is a screen shot of the subfolders.




Regards,

Mona Lee M. Furst
     Case 1:21-cr-00083-TNM Document 73-5 Filed 03/07/22 Page 24 of 24


Assistant United States Attorney
Senior Litigation Counsel
District of Kansas
Detailed to the District of Columbia
1200 Epic Center | 301 N. Main | Wichita, Kansas 67202
Direct line: 316-269-6537
